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                             EXHIBIT A
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

______________________________
In Re:                         :
                               :              Chapter 11
Alexandre J. Dacosta and       :
Vivianne C. Antunes,           :              Case No.: 22-18303 (JKS)
                               :
Debtors.                       :              Honorable John K. Sherwood
______________________________:


                 NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE

        Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the following

qualified individual as Subchapter V trustee in the above-captioned case:

                                      Mark J. Politan, Esquire
                                         Politan Law, LLC
                                     88 East Main Street #502
                                       Mendham, NJ 07945
                                       (973) 768-6072 - cell
                                     mpolitan@politanlaw.com

      The trustee’s verified statement of disinterestedness and anticipated rate of compensation

is attached to this notice.


                                       ANDREW R. VARA
                                       UNITED STATES TRUSTEE
                                       REGIONS 3 and 9



                                       By: /s/ Martha R. Hildebrandt
                                             Martha R. Hildebrandt
                                             Assistant United States Trustee


Dated: December 21, 2022
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